                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                             CEDAR RAPIDS DIVISION

    UNITED STATES OF AMERICA,

                  Plaintiff,                              No. 06-CR-53-CJW-MAR

    vs.
                                                            MEMORANDUM
    JAHMAL GREEN,                                         OPINION AND ORDER
                  Defendant.

                                ____________________________

                                     I.   INTRODUCTION
           This matter is before the Court on defendant’s Motion for Compassionate Release
filed on June 16, 2020. (Docs. 82, 83, 84, & 85). On June 19, 2020, the government
timely filed a brief in resistance. (Doc. 87). On June 29, 2020, defendant timely filed a
reply. (Doc. 91). Oral argument was not requested and is not necessary. See LR 7(c).
For the following reasons, the Court denies defendant’s motion.1
                               II.   RELEVANT BACKGROUND
           On December 25, 2004, S.E. went to a home in Cedar Rapids, Iowa to purchase
cocaine for $200, presumably from defendant.2             (Doc. 29, at 9).       Following the


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 Although all the briefing on defendant’s motion is submitted, he admits he has not yet exhausted
administrative remedies as required under Title 18, United States Code, Section 3582(c)(1)(A)
because 30 days have not yet elapsed since he submitted his request to the BOP on June 15,
2020. (Doc. 83, at 3); see also (Doc. 91–1) (containing defendant’s request to the BOP made
by defense counsel on his behalf). On June 23, 2020, the warden denied defendant’s request.
(Doc. 94–1). In light of the Court’s denial on the merits, it will forego the exhaustion issue.
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  The presentence investigation report (“PSR”) does not state this information precisely but it
appears defendant was the only other person involved in the transaction. (Doc. 29, at 9). The
victim later identified defendant as the individual who assaulted her. (Id.).




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transaction, defendant accused S.E. of stealing $100 from his person. (Id.). As S.E.
turned to leave, defendant allegedly hit S.E. in the back of the head with a hammer and
S.E. lost consciousness. (Id.). When S.E. awoke, her boyfriend was carrying her to her
car. (Id.). S.E. later reported that, while unconscious, defendant stole from her person
$800 to $1,700 in cash and 85 hydrocodone pills. (Id.). On May 6, 2005, defendant
twice sold cocaine to a confidential informant (“CI”) from a residence within 1,000 feet
of Coe College. (Id.). On May 18, 2005, defendant again sold cocaine to a CI. (Id., at
10). On June 25, 2005, officers responded to a report of suspicious persons inside a
vacant residence and found defendant, who was in possession of cash and cocaine. (Id.).
      On May 4, 2006, a grand jury issued an Indictment charging defendant with three
counts of distributing cocaine in violation of Title 21, United States Code, Sections
841(a)(1) and 851 and two counts of distributing cocaine near a school in violation of
Sections 841(a)(1), 851, and 860(a). (Doc. 1). Count 2 charged defendant with the latter
offense. (Id.). On May 8, 2006, officers arrested defendant. (Doc. 6). On May 9,
2006, defendant pleaded not guilty and was detained. (Doc. 7). On June 21, 2006,
defendant changed his plea to guilty on Count 2. (Doc. 19). On July 6, 2006, the Court
accepted defendant’s plea. (Doc. 27).
      On January 5, 2007, the United States Probation Office (“USPO”) filed
defendant’s PSR. (Doc. 29). Defendant was, at that time, 31 years old and residing in
Cedar Rapids, Iowa. (Id., at 2). Defendant was raised by his mother. (Id., at 19). He
dropped out of school after eighth grade. (Id., at 2, 20). Both of defendant’s parents
were deceased and he “had not seen his [three] siblings for a long time.” (Id., at 19).
Defendant had two minor children with his girlfriend. (Id.). He reported he had never
been formally employed and had “hustled” all his life. (Id., at 20). Defendant’s only
significant health concern was his diabetes. (Id., at 19–20). He had no mental health




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concerns. (Id., at 20). Defendant reported normal use of alcohol and frequent use of
marijuana, about “one time per week a few times per month.” (Id.).
      Defendant’s criminal history qualified him as a career offender. (Id., at 12, 13–
16). His criminal convictions consisted of the following: manufacturing and/or delivering
cocaine at age 18; possession of cocaine at 19; possession of cocaine at 20; possession of
an anabolic steroid, i.e. cocaine, at 21; manufacturing and/or delivering cocaine near a
school or public housing also at 21; manufacturing and/or delivering cocaine also at 21;
possession of cocaine at 27; interference with official acts for providing a false name to
officers at 28; criminal trespass at 28; and frequenting a disorderly house (where officers
found marijuana, cocaine, and cash) at 29. (Id., at 13–16). Throughout these offenses,
defendant often provided a false name to officers and attempted to hide cocaine from
officers by, for example, putting it in his mouth or shoving in-between the backseats of
a squad car. (Id.). Defendant’s longest term of incarceration prior to the instant offense
was just under five years. (Id., at 15).
      On January 31, 2007, the Court sentenced defendant. (Doc. 34). Defendant was
in criminal history category VI with a total offense level of 34, yielding an advisory
guideline range of imprisonment of 262 to 327 months followed by ten years to life on
supervised release. (Doc. 29, at 21). Defendant’s offense, however, was subject to a
mandatory minimum term of life imprisonment. (Id.). The Court sentenced defendant
to life imprisonment followed by ten years on supervised release. (Doc. 35).           On
February 9, 2007, defendant timely appealed. (Doc. 37). On December 13, 2007, the
Eight Circuit Court of Appeals affirmed defendant’s sentence. (Doc. 52). On June 11,
2015, the Court on its own motion found defendant was not eligible for a sentencing
reduction in light of amendments to the United States Sentencing Guidelines (“USSG”).
(Doc. 66). On January 11, 2019, defendant filed a pro se motion to reduce his sentence




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in light of the First Step Act, which the Court has not yet ruled on. (Doc. 68). Defendant
is currently incarcerated at USP Tucson. (Doc. 83, at 2).
                 III.   COMPASSIONATE RELEASE STANDARDS
      A court’s ability to modify a sentence after it has been imposed is limited. Title
18, United States Code, Section 3582(c)(1)(A) allows a court to modify a sentence
through “compassionate release.”      A defendant may directly petition the court for
compassionate release “after the defendant has fully exhausted all administrative rights
to appeal a failure of the [Bureau of Prisons] to bring a motion on the defendant’s behalf
or the lapse of 30 days from the receipt of such a request by the warden of the defendant’s
facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). The court may only reduce
the defendant’s sentence, however, after considering the factors set forth in Title 18,
United States Code, Section 3553(a) to the extent they are applicable, and finding that:
      (i) extraordinary and compelling reasons warrant such a reduction; or
      (ii) the defendant is at least 70 years of age, has served at least 30 years in
      prison, pursuant to a sentence imposed under section 3559(c), for the
      offense or offenses for which the defendant is currently imprisoned, and a
      determination has been made by the Director of the [Bureau of Prisons] that
      the defendant is not a danger to the safety of any other person or the
      community, as provided under section 3142(g);
      and that such a reduction is consistent with applicable policy statements
      issued by the Sentencing Commission[.]
18 U.S.C. § 3582(c)(1)(A). Defendants bear the burden of establishing eligibility for a
sentence reduction. United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016).
      The starting point in determining what constitutes “extraordinary and compelling
reasons” under Section 3582(c)(1)(A)(i) is the USSG discussing compassionate release.
See USSG §1B1.13; see also United States v. Rivernider, No. CR10-222, 2019 WL
3816671, at *2 (D. Conn. Aug. 14, 2019). USSG Section 1B1.13 provides extraordinary
and compelling reasons exist when the defendant is (1) suffering from a terminal illness;




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(2) suffering from a serious physical or medical condition, a functional or cognitive
impairment, or physically or mentally deterioration due to aging which substantially
diminishes the defendant’s ability to care for themselves within the facility and from
which the defendant is not expected to recover; (3) at least 65 years old, experiencing
serious deterioration due to age, and has served at least 10 years or 75 percent of their
sentence; (4) experiencing a change in family circumstances, namely the death or
incapacitation of the caregiver of the defendant’s minor child or the incapacitation of the
defendant’s spouse who now requires the defendant’s care; (5) some other extraordinary
and compelling reason as determined by the Director of the Bureau of Prisons (“BOP”).
       Courts are split on whether the policy statement is binding because it predates the
First Step Act of 2018’s changes to Section 3582(c)(1)(A). Compare United States v.
Lynn, No. CR89-0072, 2019 WL 3805349, at *4 (S.D. Ala. Aug. 13, 2019), with United
States v. Urkevich, No. CR03-37, 2019 WL 6037391, at *3 (D. Neb. Nov. 14, 2019).
This Court has concluded USSG Section 1B1.13, although it is a helpful guidepost, does
not restrain a court’s assessment of whether extraordinary and compelling reasons exist
to release a defendant. See United States v. Burnside, No. 6:18-CR-2068-CJW-MAR,
2020 WL 3443944, at *3–4 (N.D. Iowa June 18, 2020) (compiling cases).
                                  IV.    DISCUSSION
       A.     Extraordinary and Compelling Reason
       Defendant argues an extraordinary and compelling reason for release is present
because his medical conditions put him at a high risk of severe complications and death
if exposed to COVID-19. (Doc. 83, at 5–17). Defendant cites a litany of medical
conditions, including his type II diabetes with neuropathy, morbid obesity, obstructive
sleep apnea, hypertension, deep vein thrombosis, and chronic open wounds. (Id.).
       Numerous courts have held a defendant’s relevant health conditions and the
presence of COVID-19 within the BOP generally, or within the defendant’s specific




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facility, together can constitute an extraordinary and compelling reason for compassionate
release. See Burnside, 2020 WL 3443944, at *7 (compiling cases). The Centers for
Disease Control (“CDC”) lists nine categories of people who are at higher risk of severe
illness and death from COVID-19: (1) people 65 years or older, (2) people living in a
long-term care facility, (3) people with chronic lung disease or moderate to severe
asthma, (4) people with a serious heart condition, (5) people with a compromised immune
system, (6) severely obese people with a body mass index (“BMI”) of 40 or above,
(7) diabetic people, (8) people with chronic kidney disease undergoing dialysis, and
(9) people with liver disease. People Who Are at Higher Risk for Severe Illness, CDC,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-
risk.html. The latter seven categories apply to “[p]eople of all ages with underlying
conditions, particularly if not well controlled[.]” Id.
       There is little dispute here that defendant has multiple serious health issues which
make him susceptible to COVID-19. His medical records from the last two years alone
are voluminous. (Docs. 83–1, 83–2, 83–3, 83–4, 83–5, 83–6, 83–7, 83–8, 84, 84–1,
84–2, 84–3, 84–4, 84–5, 84–6, 84–7, 85, 85–1, 85–2, 85–3, 85–4, 85–5, 85–6, & 85–
7). His diabetes at times is described as uncontrolled or poorly managed. (Doc. 84, at
87, 233). He has regularly suffered from diabetic ulcers and swelling in his legs. See,
e.g., (Id., at 1). Defendant is noted as having “serious vascular problems.” (Id., at
194). Defendant has been diagnosed with chronic hypoxemic respiratory failure and has
required an external source of oxygen to breath in the past. (Doc. 85, at 8). His
hypertension is difficult to control in light of the quantity of medications prescribed to
him. (Doc. 84–6, at 103). He at times has required the use of a wheelchair and shown
minimal ability to ambulate. See, e.g., (Doc. 84, at 131). His most recent BMI was
55.8. (Doc. 83–4, at 175). His peak BMI in June 2018 was 64.88. (Doc. 84–6, at 5).
He has been described as extremely morbidly obese. (Doc. 84–3, at 60). He has been




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found shivering, shaking, and writhing in his cell by staff on multiple occasions. See,
e.g., (Doc. 84, at 11). Defendant has reported 10/10 chronic pain resulting from his
ongoing open wounds, diabetes, obesity, and deep vein thrombosis. (Doc. 84–4, at 44).
Defendant is regularly in and out of the hospital for various treatments and is classified
as a Care Level 3 inmate. See, e.g., (Doc. 85–8, at 3). Defendant was recently housed
in a negative pressure chamber due to significant infections. (Doc. 83–1, at 7). In sum,
the records overwhelmingly show defendant fits the CDC’s risk categories for at least
diabetic and obese persons and if not also persons with respiratory, cardiac, or immune
system issues.
       Currently, there are two active cases of COVID-19 at USP Tucson, both among
the staff. COVID-19, BOP, https://www.bop.gov/coronavirus/. One staff person has
also recovered. Id. Although there are no known cases among the inmates, the Court
finds the presence of COVID-19 among the staff and throughout the BOP generally
presents a significant risk to defendant given his vulnerabilities. See, United States v.
Oltmanns, No. 09-CR-1016-CJW-MAR, 2020 WL 3453843, at *6 (N.D. Iowa June 24,
2020) (compiling cases); see also United States v. Wilson, No. 14-209-1, 2020 WL
1975082, at *2 (E.D. Penn. Apr. 24, 2020) (“Correctional and detention facilities present
unique challenges for control of COVID-19 transmissions among incarcerated/detained
persons . . . [because they] are at special risk of infection, given their living situations,
and may also be less able to participate in proactive measures to keep themselves safe[.]”)
(internal quotation marks, citations, and original alterations omitted); United States v.
Park, No. 16-cr-473 (RA), 2020 WL 1970603, at *2 (S.D.N.Y. Apr. 24, 2020) (“The
nature of prisons—crowded, with shared sleeping spaces and common areas, and often
with limited access to medical assistance and hygienic products—put those incarcerated
inside a facility with an outbreak at heightened risk.”).




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       Thus, the Court finds the combination of defendant’s medical conditions and the
status of COVID-19 in the BOP generally presents an extraordinary and compelling
reason for early release.
       B.     Section 3553(a) Factors and Danger to Community
       Guideline Section 1B1.13(2) provides compassionate release is appropriate only
when “the defendant is not a danger to the safety of any other person or to the community,
as provided in 18 U.S.C. § 3142(g)[.]” Section 3582(c)(1)(A) requires a court to consider
the factors set forth in Title 18, United States Code, Section 3553(a) before granting
compassionate release. Section 3553(a) requires the Court to consider: (1) “the nature
and circumstances of the offense and the history and characteristics of the defendant;”
(2) the need for the sentence to reflect the seriousness of the offense, promote respect for
the law, provide just punishment, and provide rehabilitative opportunities and care to the
defendant; (3) the kinds of sentences available; (4) the sentencing range as set by the
USSG; (5) any pertinent policy by the United States Sentencing Commission; (6) the need
to avoid unwarranted sentencing disparities among similarly situated defendants; and (7)
the need for restitution to any victims.
       Defendant has seven prior cocaine-related offenses, eight if his disorderly house
offense involving cocaine is counted. His offenses were not driven by his own addiction.
Nothing in the PSR indicates defendant personally used cocaine. Instead, it appears he
sold cocaine simply to “hustle” and make money. Indeed, he has no employment history.
Nothing in his background explains his choice to involve himself in the sale of narcotics.
Defendant continually returned to the exact same criminal conduct despite serving
incrementally longer sentences and despite being placed on probation or parole. See
(United States v. Tillman, 6:12-cr-2024-CJW-MAR-14 (Doc. 831) (N.D. Iowa June 30,
2020) (granting release to a defendant, despite her recidivist history of low-level drug
offenses and lack of employment history, due to her mitigating upbringing, severe mental




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health issues, improvement while incarcerated, and promising release plan)). The instant
offense involved violence which shows an escalation in defendant’s criminal behavior.
Although the instant offense involved only a small amount of cocaine, it is defendant’s
recidivist behavior that drove his sentence here, not the drug quantity.
      It appears defendant’s conduct has not improved while incarcerated. He has had
thirteen disciplinary reports since 2008, the most recent on record occurring in September
2018. (Doc. 85–8, at 2) (containing defendant’s most recent progress report from
November 2018). The violations in these reports include fighting with another person
on four occasions, possession of a dangerous weapon on three occasions, possession of
an unauthorized item on three occasions, and misusing an authorized medication on one
occasion in March 2015.      (Id.).   Defendant’s recent medical records note multiple
occasions when he did not take his medications as prescribed and instead hoarded them
over the course of months. See, e.g., (Doc. 84, at 20) (“Spoke with pharmacy and I was
informed that [defendant] was noncompliant with [blood pressure] meds and was not
taking any of them for months prior to being sent to the hospital.”). For example, a
November 15, 2018 report notes:
      [Defendant] attempted to divert his pill line medication. See nursing note.
      When an inmate attempts to divert his medication, he is not taking the
      medication as it is prescribed. This puts in question his need for the
      medication for the reason it was prescribed. Also, [defendant] may be
      hoarding medication to take an excessive amount or in an inappropriate
      way. Or hoarding medication for a suicide attempt/gesture. For these
      reasons and [defendant’s] safety this medication is discontinued and should
      not be reinstated.

(Id., at 149).   On one occasion, ten different medications were confiscated from
defendant, with his physician commenting in a May 17, 2019 report:
      It appears from his medication history in [the Bureau of Electronic Medical
      Records System] that many of these orders were filled and not used. Since
      September [defendant] has ordered and picked up 4 months worth of his



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       chronic medications including metoprolol, spironolactone, furosemide,
       lisinopril, atorvastatin, amlodipine and hydralazine. From the confiscated
       meds he appears to have kept up to 3 months or more of each of these
       medications. [Defendant] has had a few extended stays outside hospitals
       since September which could account for some of this non-compliance.

(Id., at 41). What defendant intended to do with his hoarded prescriptions is unclear. 3
This fact is particularly aggravating because it not only shows defendant’s health issues
are, to some extent, exacerbated by his willful noncompliance with treatment but also
that defendant continues to, at best, mismanage drugs. This pattern is observable starting
as early as his March 2015 report for misusing an authorized medication and as recently
as a year ago. The Court also notes that, although defendant took a significant amount
of education courses when he first arrived at prison, his interest in education waned
substantially thereafter. If released, defendant intends to reside in home confinement
with his brother in Chicago, who is prepared to provide defendant with any needed
transportation for medical or other appointments. (Doc. 91, at 6-7; 91–2). Although
this release plan appears promising, defendant does not indicate whether his brother has
any criminal history. (Id.).
       In short, the lack of mitigating circumstances here leaves the Court with no
appropriate avenue by which to grant release. Defendant’s argument on the 3553(a)
factors is merely that his sentence was harsh. Undoubtedly, life imprisonment is a harsh
sentence. Reasonable minds can disagree about whether defendant earned that sentence
through his recidivist criminal conduct. Whether the Court finds defendant’s sentence
harsh, however, is not the question. Instead, the question is whether defendant’s fourteen


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  The government argues defendant intended to give or exchange his hoarded medications with
others. (Doc. 87, at 18). Although this is probable, nothing in the record except defendant’s
drug dealing criminal history supports the conclusion. Defendant submits it is possible “he was
coerced into” hoarding his medications. (Doc. 83, at 13). Although this is possible, nothing in
the record supports this extremely unlikely conjecture.




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years of incarceration has satisfied the goals of 3553(a) in light of his present health
conditions amid the pandemic. Although defendant’s criminal history consists of low-
level drug distribution, his repetition of this conduct comes without mitigation.
Defendant’s reports from prison reflect that, despite the passage of fourteen years, he
still requires deterrence. This is exemplified in defendant’s continued diversion of drugs,
even in his current medical state. Aside from the mere passage of time, the Court has
no basis to conclude the goals of 3553(a) have been satisfied at this time such that it is
appropriate to afford defendant an exponential reduction in his sentence.
       Weighing all the factors under Section 3553(a), the Court finds release
inappropriate. Although defendant faces greater danger than the average inmate from
the COVID-19 pandemic, and although that danger could likely be mitigated if the Court
released him early from prison, defendant’s lifetime pattern of criminal conduct and
continued disciplinary issues while incarcerated make him a danger to the community
such that the Court finds early release unjustified. See Oltmanns, 2020 WL 3453843, at
*7 (denying release based on the 3553(a) factors despite the defendant’s health).
                                 V.     CONCLUSION
       For these reasons, defendant’s Motion for Compassionate Release (Doc. 82) is
denied. Defendant must serve the remainder of his term of imprisonment as previously
directed. (Doc. 35).
       IT IS SO ORDERED this 10th day of July, 2020.



                                          _________________________
                                          C.J. Williams
                                          United States District Judge
                                          Northern District of Iowa




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